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8
9                          UNITED STATES DISTRICT COURT
10                        CENTRAL DISTRICT OF CALIFORNIA
11
     DECKERS OUTDOOR                           )   CASE NO.:
12   CORPORATION, a Delaware                   )
     Corporation,                              )   COMPLAINT FOR DAMAGES AND
13                                             )   EQUITABLE RELIEF:
                        Plaintiff,             )
14                                             )   1. TRADE DRESS INFRINGEMENT
                                               )      UNDER THE LANHAM ACT
15               v.                            )
                                               )   2. TRADE DRESS INFRINGEMENT
16                                             )      UNDER CALIFORNIA COMMON
     LOLA & SOTO BUSINESS GROUP,               )      LAW
17   INC., a California Corporation; TOP       )
     GUY INT’L TRADING, LLC, a                 )   3. UNFAIR COMPETITION IN
18   California Limited Liability Company;     )      VIOLATION OF CAL. BUS. &
     and DOES 1-10, inclusive,                 )      PROF. CODE § 17200 et seq.
19                                             )
                                               )   4. UNFAIR COMPETITION UNDER
20                      Defendants.            )      CALIFORNIA COMMON LAW
                                               )
21                                             )   5. PATENT INFRINGEMENT OF
                                               )      U.S. PAT. NO. D866,941
22                                             )
                                               )
23                                             )   JURY TRIAL DEMANDED
24
25         Plaintiff Deckers Outdoor Corporation (“Deckers” or “Plaintiff”) for its
26   Complaint against Defendants Lola & Soto Business Group, Inc. d/b/a Miss Lola
27   (“Miss Lola”), Top Guy Int’l Trading, LLC (“Top Guy”), and DOES 1-10
28   (collectively “Defendants”) alleges as follows:

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1                                JURISDICTION AND VENUE
2           1.     This action arises out of Defendants’ complicit and unlawful acts
3    constituting trade dress infringement and unfair competition in violation of the
4    Lanham Trademark Act of 1946, 15 U.S.C. § 1051, et seq. (the “Lanham Act”), patent
5    infringement arising under the patent laws of the United States, 35 U.S.C. § 1, et seq.
6    and violations of statutory and common law of the state of California.
7           2.     This Court has subject matter jurisdiction over the federal claims asserted
8    in this action under 28 U.S.C. §§ 1331 and 1338(a) and supplemental jurisdiction over
9    Plaintiff’s state law claims pursuant to 28 U.S.C. § 1367(a) because they are so related
10   to the federal claims that they form part of the same case or controversy.
11          3.     This Court has personal jurisdiction over Defendants because Defendants
12   conduct continuous and systematic business in this district, placed infringing products
13   in the stream of commerce directed to residents of this district, derived commercial
14   benefits from the sale of infringing products and caused injuries to Plaintiff within the
15   Central District of California.
16          4.     Venue is proper under 28 U.S.C. §§ 1391(b)-(c) because a substantial
17   part of the events or omissions giving rise to the claims alleged occurred in this
18   judicial district and Plaintiff is located and has been injured in this judicial district,
19   and 28 U.S.C. § 1400(b) because Defendants committed acts of infringement in this
20   judicial district.
21                                       THE PARTIES
22          5.     Plaintiff Deckers Outdoor Corporation is a corporation organized and
23   existing under the laws of the state of Delaware with an office and principal place of
24   business located in Goleta, California.       Deckers designs and markets footwear
25   products under a number of well-known brands, including UGG® products covered
26   by the intellectual property asserted in this Complaint.
27          6.     Upon information and belief, Defendant Lola & Soto Business Group,
28   Inc. d/b/a Miss Lola (“Miss Lola”) is a corporation organized and existing under the

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1    laws of the state of California, with an office and principal place of business located at
2    8350 Rex Road, Unit B, Pico Rivera, California 90660.
3          7.     Upon information and belief, Defendant Top Guy Int’l Trading, LLC
4    (“Top Guy”) is a limited liability company organized and existing under the laws of
5    the state of California, with an office and principal place of business located at 333
6    Brea Canyon Road, City of Industry, California 91789.
7          8.     Deckers is informed and believes that, together with Defendants Miss
8    Lola and Top Guy, other individuals and entities currently named as DOES 1-10 may
9    also be responsible in one manner or another for the wrongs alleged herein, in that at
10   all relevant times, each one (including Miss Lola and Top Guy) was the agent and
11   servant of the others and acting within the course and scope of said agency and
12   employment. These other individuals and entities are sued under fictitious names
13   DOES 1-10, because their true names and capacities are currently unknown to
14   Deckers. Deckers will seek leave to amend this Complaint when the true names and
15   capacities of DOES 1-10 are ascertained.
16               ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
17   A.    Deckers’ UGG® Brand
18         9.     Deckers has been engaged in the design, distribution, marketing, offering
19   for sale, and sale of footwear since 1975. Deckers owns and markets its footwear
20   products    under   several   distinctive   trademarked    brands,   including   UGG®,
21   Koolaburra®, Teva®, Sanuk®, and Hoka One One®.
22         10.    Deckers’ UGG® brand is one of the most well-recognized premium
23   comfort-leisure shoe brands in the United States. Since 1979, when the UGG® brand
24   was founded, the popularity of UGG® footwear has steadily grown in the U.S. and
25   around the world. UGG® footwear has been and remains highly coveted today by
26   consumers as one of the most popular and recognizable symbols of luxury and style.
27         11.    For example, in 2000, UGG® boots were featured on Oprah’s Favorite
28   Things® where Oprah emphatically declared on national television how much she

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1    “LOOOOOVES her UGG boots.” Since then, the popularity of UGG® footwear has
2    grown exponentially, with celebrities such as Kate Hudson, Sarah Jessica Parker, and
3    Tom Brady among a myriad of others regularly seen wearing UGG® footwear,
4    including UGG® Fluff Yeah Slides.
5           12.   The world-wide recognition as a “premium” brand and the overwhelming
6    popularity of the UGG® brand is due to Deckers’ continuous commitment to quality
7    and excellence. Today, Deckers’ footwear products under the UGG® brand are
8    widely available and sold to consumers in every state, including California, through
9    UGG® Concept Stores, authorized brick-and-mortar retailers, as well as on the
10   internet at www.ugg.com.
11   B.     Defendants’ Infringing Activities
12          13.   This lawsuit arises from Defendants’ design, manufacture, importation,
13   distribution, advertisement, marketing, offering for sale, and sale in the U.S. of certain
14   footwear products that infringe upon Deckers’ “Fluff Yeah Trade Dress” and U.S. Pat.
15   No. D866,941 (the “Accused Products”).
16          14.   Upon information and belief, Miss Lola is a competitor of Deckers, and
17   Defendants introduced the Accused Products into the stream of commerce in an effort
18   to exploit Deckers’ goodwill and the reputation of the UGG® Fluff Yeah Slide.
19          15.   Upon information and belief, Top Guy imports, manufactures, designs,
20   advertises, markets, distributes, offers for sale, and/or sells footwear wholesale under
21   its “TOP MODA” brand to various retailers, including to those within this judicial
22   district.
23          16.   Upon information and belief, Top Guy supplied TOP MODA brand
24   Accused Products to Miss Lola and other retailers currently unknown, including
25   DOES 1-10.
26          17.   Deckers has not granted Defendants a license to practice nor given
27   Defendants any form of permission to use Deckers’ trademarks, trade dresses, or
28   patents, including Deckers’ Fluff Yeah Trade Dress and U.S. Pat. No. D866,941.

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1           18.    Upon information and belief, Defendants imported into the U.S.,
2    advertised, marketed, offered for sale, and/or sold at least the Accused Products
3    identified as TOP MODA brand “BEN-1 Slippers”, which are marketed, advertised,
4    offered for sale, and sold by Miss Lola under the name “Crazy Fur You Sandals”—
5    exemplars of which are shown in the photographs below—through Miss Lola’s
6    website (www.misslola.com) to consumers nationwide, including consumers located
7    within this judicial district.
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                         Examples of Top Moda Brand Accused Products
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            19.    Upon information and belief, Miss Lola also imported into the U.S.,
17
     advertised, marketed, offered for sale, and/or sold the Accused Products identified as
18
     WILD DIVA brand “FLUFFY FAUX FUR SLIDES,” which are marketed,
19
     advertised, offered for sale, and sold by Miss Lola under the name “Fur Ever
20
     Sandals”—an exemplar of which is shown in the photograph below—through Miss
21
     Lola’s website (www.misslola.com) to consumers nationwide, including consumers
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     located within this judicial district.
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                           COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF
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10                      Example of Wild Diva Brand Accused Products

11         20.    Upon information and belief, Defendants may have sold additional
12   products that infringe upon Deckers’ design patents and trade dresses. Deckers will
13   seek leave to amend as additional information becomes available through discovery.
14         21.    Upon information and belief, Defendants have acted in bad faith and
15   Defendants’ unlawful acts have misled and confused, and were intended to cause
16   confusion, or to cause mistake, or to deceive consumers as to the affiliation,
17   connection, or association of the Accused Products with Deckers, and/or the origin,
18   sponsorship, or approval of the Accused Products by Deckers.
19                               FIRST CLAIM FOR RELIEF
20                     (Trade Dress Infringement - 15 U.S.C. § 1125(a))
21         22.    Deckers incorporates by reference each and every one of the preceding
22   paragraphs as though fully set forth herein.
23         23.    In 2018, Deckers introduced the UGG® Fluff Yeah Slide, marketed and
24   featuring the design elements protected under the “Fluff Yeah Trade Dress.” The
25   Fluff Yeah Trade Dress is unique and inherently distinctive, and comprised of the
26   following non-functional elements:
27                a.    A slipper and sandal combined into a statement shoe made famous
28         by the UGG® brand;
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1                   b.    A platform, sling back slide;
2                   c.    A platform sole with a furry footbed and furry perimeter sides;
3                   d.    A wide vamp having a furry exterior;
4                   e.    An open toe; and
5                   f.    An elastic heel strap extending from one side of the vamp to the
6          other.
7          24.      The Fluff Yeah Trade Dress, which is a composite of the above-
8    referenced features, is non-functional in its entirety, visually distinctive, and unique in
9    the footwear industry; examples of its distinctive appearance as a whole are shown in
10   the photographs below:
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17         25.      The design of the Fluff Yeah Trade Dress is neither essential to its use or
18   purpose, nor does it affect the cost or quality of the shoe. There are numerous other
19   designs available that are equally feasible and efficient, none of which necessitate
20   copying or imitating the Fluff Yeah Trade Dress. The combination of features
21   comprising the Fluff Yeah Trade Dress provides no cost advantages to the
22   manufacturer or utilitarian advantages to the consumer. These features, in
23   combination, serve only to render UGG® Fluff Yeah Slides, the embodiment of the
24   Fluff Yeah Trade Dress, as a distinct product originating solely from Deckers.
25         26.      UGG® Fluff Yeah Slides, the embodiment of the Fluff Yeah Trade
26   Dress, is one of the most well-recognized and commercially successful styles of
27   UGG® brand of footwear products, having been featured in many of Deckers’
28   advertising and promotional materials as well as in various trade publications. UGG®

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1    Fluff Yeah Slides have received a large volume of unsolicited media attention, for
2    example, through various celebrities seen wearing UGG® Fluff Yeah Slides and
3    graced the pages of many popular magazines nationwide and internationally.
4          27.    Deckers has spent substantial time, effort, and money in designing,
5    developing, advertising, promoting, and marketing the UGG® brand and its line of
6    footwear embodying the Fluff Yeah Trade Dress. Deckers spends millions of dollars
7    annually on advertising of UGG® products, including footwear embodying the Fluff
8    Yeah Trade Dress.
9          28.    Due to its long use, extensive sales, and significant advertising and
10   promotional activities, Deckers’ Fluff Yeah Trade Dress has achieved widespread
11   acceptance and recognition among the consuming public and trade throughout the
12   United States. Indeed, Deckers has sold millions of dollars’ worth of UGG® Fluff
13   Yeah Slides, the embodiment of the Fluff Yeah Trade Dress. Accordingly, the Fluff
14   Yeah Trade Dress has achieved a high degree of consumer recognition and secondary
15   meaning, which serves to identify Deckers as the exclusive source of footwear
16   featuring said trade dress.
17         29.    Upon information and belief, Miss Lola is a competitor of Deckers and
18   Defendants introduced Accused Products into the stream of commerce in an effort to
19   exploit Deckers’ goodwill and the reputation of the UGG® Fluff Yeah Slide.
20         30.    The Accused Products manufactured, imported, distributed, advertised,
21   offered for sale, and/or sold by Defendants bear confusingly similar reproductions of
22   the Fluff Yeah Trade Dress, such as to cause a likelihood of confusion as to the
23   source, sponsorship or approval by Deckers of the Accused Products.
24         31.    Defendants’ use of the Fluff Yeah Trade Dress is without Deckers’
25   permission or authorization, and in total disregard of Deckers’ rights to control its
26   intellectual property. There are numerous other shoe designs in the footwear industry,
27   none of which necessitate copying or imitating the Fluff Yeah Trade Dress.
28         32.    Defendants’ use of the Fluff Yeah Trade Dress is likely to lead to and

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1    result in confusion, mistake or deception, and is likely to cause the public to believe
2    that Accused Products are produced, sponsored, authorized, or licensed by or are
3    otherwise connected or affiliated with Deckers.
4          33.    As a direct and proximate result of the foregoing acts, Deckers has
5    suffered and will continue to suffer significant injuries in an amount to be determined
6    at trial. Deckers is entitled to recover all damages, including attorneys’ fees, that it
7    has sustained and will sustain, and all gains, profits and advantages obtained by
8    Defendants as a result of its infringing acts.
9          34.    Furthermore, unless Defendants’ unlawful acts are enjoined by this
10   Court, there is no adequate remedy at law that can fully compensate Deckers for the
11   harm caused by Defendants’ infringement, which is ongoing. Accordingly, Deckers is
12   entitled to injunctive relief prohibiting Defendants from continuing to infringe the
13   Fluff Yeah Trade Dress, or any designs confusingly similar thereto.
14                              SECOND CLAIM FOR RELIEF
15                  (Trade Dress Infringement – California Common Law)
16         35.    Deckers incorporates by reference each and every one of the preceding
17   paragraphs as though fully set forth herein.
18         36.    Defendants’ infringement of the Fluff Yeah Trade Dress also constitutes
19   trade dress infringement under common law of the state of California.
20         37.    The Accused Products manufactured, imported, distributed, advertised,
21   offered for sale, and/or sold by Defendants bear confusingly similar reproductions of
22   the Fluff Yeah Trade Dress, such as to cause a likelihood of confusion as to the
23   source, sponsorship or approval by Deckers of the Accused Products. Defendants’
24   unauthorized use of the Fluff Yeah Trade Dress has caused and is likely to cause
25   confusion as to the source of Accused Products among consumers.
26         38.    As a direct and proximate result of the foregoing acts, Deckers has
27   suffered and will continue to suffer significant injuries in an amount to be determined
28   at trial. Deckers is entitled to recover all damages, including attorneys’ fees, that it

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 1   has sustained on account of Defendants’ infringement, and all gains, profits and
 2   advantages obtained by Defendants as a result of its unlawful acts.
 3         39.    Defendants’ unlawful acts were willful, deliberate, and intended to cause
 4   confusion among the public, taken in reckless disregard of Deckers’ rights. As such,
 5   an award of exemplary and punitive damages is necessary in an amount sufficient to
 6   deter similar misconduct in the future.
 7         40.    Furthermore, unless Defendants’ unlawful acts are enjoined by this
 8   Court, there is no adequate remedy at law that can fully compensate Deckers for the
 9   damages caused by Defendants’ infringement, which is ongoing. Accordingly,
10   Deckers is entitled to injunctive relief prohibiting Defendants from continuing to
11   infringe the Fluff Yeah Trade Dress, or any designs confusingly similar thereto.
12                              THIRD CLAIM FOR RELIEF
13      (Unfair Competition in Violation of Cal. Bus. & Prof. Code, § 17200 et. seq.)
14         41.    Deckers incorporates by reference each and every one of the preceding
15   paragraphs as though fully set forth herein.
16         42.    Defendants’ misappropriation and unauthorized use of the Fluff Yeah
17   Trade Dress to promote the Accused Products is likely to confuse or mislead
18   consumers into believing that such products are authorized, licensed, affiliated,
19   sponsored, and/or approved by Deckers, constituting deceptive, unfair, and fraudulent
20   business practices and unfair competition in violation of the California Unfair
21   Business Practices Act, Cal. Bus. & Prof. Code, § 17200 et. seq.
22         43.    Upon information and belief, Defendants’ deceptive, unfair, and
23   fraudulent business practices were willfully undertaken with full knowledge of the
24   Fluff Yeah Trade Dress and with the intent to misappropriate Deckers’ goodwill and
25   reputation established in the UGG® Fluff Yeah Slide.
26         44.    As a direct and proximate result of the foregoing acts, Deckers has
27   suffered and will continue to suffer significant injuries in an amount to be determined
28   at trial. Deckers is entitled to all available relief provided for under the California

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 1   Unfair Business Practices Act, Cal. Bus. & Prof. Code, § 17200 et. seq., including an
 2   accounting and disgorgement of all illicit profits that Defendants made on account of
 3   its deceptive, unfair, and fraudulent business practices. Furthermore, because Deckers
 4   has no adequate remedy at law for Defendants’ ongoing unlawful conduct, Deckers is
 5   entitled to injunctive relief prohibiting Defendants from unfair competition.
 6                             FOURTH CLAIM FOR RELIEF
 7                     (Unfair Competition – California Common Law)
 8         45.    Deckers incorporates by reference each and every one of the preceding
 9   paragraphs as though fully set forth herein.
10         46.    Defendants’ misappropriation and unauthorized use of the Fluff Yeah
11   Trade Dress to promote the Accused Products also constitutes unfair competition in
12   violation of common law of the state of California.
13         47.    Deckers has expended substantial time, resources and effort in creating
14   and developing UGG® footwear, including the UGG® Fluff Yeah Slide, the
15   embodiment of the Fluff Yeah Trade Dress, which consumers recognize as originating
16   from Deckers.
17         48.    Upon information and belief, Defendants introduced Accused Products
18   into the stream of commerce in order to exploit Deckers’ goodwill and the reputation
19   established in the UGG® Fluff Yeah Slide for Defendants’ own pecuniary gain.
20   Defendants’ unauthorized use of the Fluff Yeah Trade Dress resulted in Defendants
21   unfairly benefitting from Deckers’ goodwill and the reputation established in the
22   UGG® Fluff Yeah Slide.
23         49.    Upon information and belief, Defendants’ unlawful acts are willful,
24   deliberate, and intended to cause confusion among the public and taken in reckless
25   disregard of Deckers’ rights. As such, an award of exemplary and punitive damages is
26   necessary in an amount sufficient to deter similar misconduct in the future.
27         50.    As a direct and proximate result of the foregoing acts, Deckers has
28   suffered and will continue to suffer significant injuries in an amount to be determined

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 1   at trial. Deckers is entitled to recover all damages, including attorneys’ fees, that
 2   Deckers has sustained on account of Defendants’ unfair competition, and all gains,
 3   profits and advantages obtained by Defendants as a result of its unlawful acts.
 4   Furthermore, because Deckers has no adequate remedy at law for Defendants’
 5   ongoing unlawful conduct, Deckers is entitled to injunctive relief prohibiting
 6   Defendants from unfair competition.
 7                                   FIFTH CLAIM FOR RELIEF
 8                      (Patent Infringement – U.S. Pat. No. D866,941)
 9         51.    Deckers incorporates by reference each and every one of the preceding
10   paragraphs as though fully set forth herein.
11         52.    In order to protect its valuable brands, Deckers owns a number of patents
12   covering various styles of footwear it markets, including the UGG® Fluff Yeah Slide
13   described herein. These patents include U.S. Pat. No. D866,941 (“the ’941 Patent”)
14   issued on November 19, 2019, a true and correct copy of which is attached hereto as
15   Exhibit A and incorporated herein.
16         53.    Deckers is the owner by assignment of all rights, title and interest in and
17   to the ’941 Patent and Deckers has marked substantially all footwear products
18   embodying the design of the ’941 Patent with “patent pending” on a product label in
19   compliance with 35 U.S.C. § 287, putting Defendants on notice of the pending patent
20   application that issued as the ’941 Patent.
21         54.    Defendants have produced, imported into the U.S., distributed,
22   advertised, marketed, offered for sale, and/or sold within the United States the
23   Accused Products which bear a design substantially similar to the ornamental design
24   of the ’941 Patent, in violation of 35 U.S.C. § 271.
25         55.    Deckers has not granted a license or given Defendants any form of
26   permission to the ’941 Patent and Defendants’ infringement of the ’941 Patent is
27   without Deckers’ permission or authority and in total disregard of Deckers’
28   intellectual property rights.

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 1          56.    As a direct and proximate result of the foregoing acts, Deckers has
 2   suffered and will continue to suffer significant injuries in an amount to be determined
 3   at trial.    Deckers is entitled to recover all damages sustained on account of
 4   Defendants’ infringement, and all gains, profits and advantages obtained by
 5   Defendants under 35 U.S.C. §§ 284 and 289.
 6          57.    Upon information and belief, Defendants’ infringing acts were willful,
 7   deliberate, and taken in reckless disregard of the ’941 Patent despite having been put
 8   on notice through Deckers’ pending patent marking. Defendants took these actions
 9   knowing the objectively high likelihood that such actions constituted infringement of
10   the ’941 Patent. As Defendants’ willful acts render this an exceptional case, Deckers
11   is entitled to enhanced damages and reasonable attorney fees under 35 U.S.C. § 284.
12          58.    Furthermore, unless Defendants’ unlawful acts are enjoined by this
13   Court, there is no adequate remedy at law that can fully compensate Deckers for the
14   harm caused by Defendants’ infringement of the ’941 Patent, which is ongoing.
15   Accordingly, Deckers is entitled to injunctive relief under 35 U.S.C. § 283 prohibiting
16   Defendants from continuing to infringe the ’941 Patent.
17                                  PRAYER FOR RELIEF
18          WHEREFORE, Plaintiff Deckers Outdoor Corporation respectfully prays for
19   judgment against Defendants Lola & Soto Business Group, Inc. d/b/a Miss Lola, Top
20   Guy Int’l Trading, LLC, and DOES 1-10 as follows:
21          1.     A judgment that Defendants infringed Deckers’ Fluff Yeah Trade Dress
22   and U.S. Pat. No. D866,941;
23          2.     An order permanently enjoining and restraining Defendants, their agents,
24   servants, employees, officers, associates, and all persons acting in concert with any of
25   them from infringing Deckers’ intellectual property at issue, including but not limited
26   to infringing acts such as:
27                 a.    manufacturing, importing, advertising, marketing, promoting,
28          supplying, distributing, offering for sale, or selling Accused Products or any

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 1         other products that bear an identical or confusingly similar design as Deckers’
 2         Fluff Yeah Trade Dress;
 3               b.     manufacturing, importing, advertising, marketing, promoting,
 4         supplying, distributing, offering for sale, or selling Accused Products or any
 5         other products that infringe the ’941 Patent;
 6               c.     engaging in any other activity constituting unfair competition with
 7         Deckers, or acts and practices that deceive consumers, the public, and/or trade,
 8         including without limitation, the use of designations and design elements used
 9         or owned by or associated with Deckers; and
10               d.     committing any other act which falsely represents or which has
11         the effect of falsely representing goods and services of Defendants are
12         licensed, authorized, offered, produced, sponsored, or in any other way
13         associated with Deckers;
14         3.    An order requiring Defendants to recall from any distributors and
15   retailers and to deliver to Deckers for destruction any Accused Products, including the
16   means of making such products;
17         4.    An order requiring Defendants to file with this Court and serve on
18   Deckers within thirty (30) days after entry of the injunction, a report in writing and
19   under oath setting forth the manner in which Defendants complied with the injunction;
20         5.    An order for an accounting of all gains, profits and advantages derived by
21   Defendants on account of the unlawful acts complained of herein pursuant to 15
22   U.S.C. § 1117(a), Cal. Bus. & Prof. Code, § 17200 et. seq., and any other applicable
23   federal statute or California state and common law;
24         6.    An award of damages equal to Defendants’ profits and all damages
25   sustained by Deckers as a result of Defendants’ wrongful acts;
26         7.    An award of damages equal to treble Defendants’ profits or Deckers’
27   damages, whichever is greater, on account of Defendants’ willful infringement;
28         8.    An award of punitive damages and Deckers’ costs, attorneys’ fees, and

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 1   interest as allowed under all applicable federal statutes and California state laws; and
 2         9.     All other relief that the Court may deem just and proper.
 3
 4    Dated:         August 20, 2020       BLAKELY LAW GROUP
 5                                         By:   _/s/ Mark S. Zhai_________
                                                 Brent H. Blakely
 6                                               Mark S. Zhai
                                                 Colby A. Meagle
 7                                               Attorneys for Plaintiff
                                                 Deckers Outdoor Corporation
 8
 9
                                 DEMAND FOR JURY TRIAL
10
           Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff
11
     Deckers Outdoor Corporation hereby demands a trial by jury as to all claims in this
12
     Civil Action.
13
14
     Dated:          August 20, 2020       BLAKELY LAW GROUP
15
16
                                           By:   _/s/ Mark S. Zhai_________
17                                               Brent H. Blakely
18                                               Mark S. Zhai
                                                 Colby A. Meagle
19                                               Attorneys for Plaintiff
                                                 Deckers Outdoor Corporation
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                           COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF
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          EXHIBIT A
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